     Case 2:15-bk-17348-BR          Doc 47 Filed 05/20/19 Entered 05/20/19 10:44:22                Desc
                                     Main Document     Page 1 of 3


 1   David M. Goodrich
       dgoodrich@wgllp.com
 2
     650 Town Center Drive, Suite 600
 3   Costa Mesa, CA 92626
     Telephone: (714) 966-1000
 4
     Chapter 7 Trustee
 5
 6                              UNITED STATES BANKRUPTCY COURT

 7               CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
 8
 9   In re:                                              )        Case No. 2:15-bk-17348-BR
                                                         )
10   FIERSTEIN, MICHAEL                                  )        Chapter 7
11   FIERSTEIN, MARILYN                                  )
                                                         )        NOTICE TO PROFESSIONALS TO
12                        Debtor(s)                      )        FILE APPLICATIONS FOR
                                                         )        COMPENSATION
13
                                                         )
14                                                       )        [No Hearing Required]

15            TO THE UNITED STATES BANKRUPTCY COURT - ASSET CLOSING SECTION,
16   THE UNITED STATES TRUSTEE, THE ATTORNEY FOR THE DEBTOR, AND TO EVERY
17   PROFESSIONAL PERSON ENTITLED TO CLAIM COMPENSATION PAYABLE AS AN
18   ADMINISTRATIVE EXPENSE TO THE ESTATE:
19            YOU ARE HEREBY NOTIFIED that the Chapter 7 Trustee is prepared to file a Final
20   Report and Account.
21            Professional persons are notified that the last day for filing applications for compensation is
22   21 days after the mailing of this notice pursuant to Local Bankruptcy Rule 2016-1(c)(4)(B).
23
     Dated: May 20, 2019
24                                                           /s/ David M. Goodrich
                                                             David M. Goodrich
25                                                           Chapter 7 Trustee
26
27
28
        Case 2:15-bk-17348-BR                       Doc 47 Filed 05/20/19 Entered 05/20/19 10:44:22                                 Desc
                                                     Main Document     Page 2 of 3


  NOTE: When using this form to indicate service of a proposed order, DO NOT list any person or entity in Category I.
Proposed orders do not generate an NEF because only orders that have been entered are placed on the CM/ECF docket.

                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Chapter 7 Trustee, 650 Town Center Drive, Suite 600 Costa Mesa, CA 92626

The foregoing document described NOTICE TO PROFESSIONALS TO FILE APPLICATIONS FOR COMPENSATION
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner indicated below:

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) - Pursuant to controlling General
Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via NEF and hyperlink
to the document. On October 21, 2011, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at email
address(es) indicated below:

    •   Howard M Ehrenberg      hehrenberg@sulmeyerlaw.com, hehrenberg@ecf.inforuptcy.com;mviramontes@ecf.inforuptcy.com

    •   Jasmine Firooz   jasminefirooz@gmail.com, yasi29@yahoo.com

    •   David M Goodrich (TR)        dgoodrich@wgllp.com, c143@ecfcbis.com;dgoodrich11@ecf.axosfs.com;lrobles@wgllp.com

    •   Noreen A Madoyan Noreen@MarguliesFaithLaw.com,
        Helen@MarguliesFaithlaw.com;Victoria@MarguliesFaithlaw.com;David@MarguliesFaithLaw.com

    •   Meghann A Triplett Meghann@MarguliesFaithlaw.com,
        Helen@MarguliesFaithlaw.com;Victoria@MarguliesFaithlaw.com;David@MarguliesFaithLaw.com;Noreen@MarguliesFaithlaw.com

    •   United States Trustee (LA)     ustpregion16.la.ecf@usdoj.gov

                                                                             Service information continued on attached page
II. SERVED BY U.S. MAIL:
On May 20, 2019, I served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States Mail, first
class, postage prepaid, and/or with an overnight mail service addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Michael Fierstein
Marilyn Fierstein
1114 12th St. #308
Santa Monica, CA 90403

Law Office of Larry Zemer
1801 Century Park East, Suite 2400
Los Angeles, CA 90067

                                                                                            Service information continued on attached page


III. SERVED BY PERSONAL DELIVERY:
Pursuant to F.R.Civ.P.5 and/or controlling LBR, on May 20, 2019, I served the following person(s) and/or entity(ies) by
personal delivery, or (for those who consented in writing to such service method), by facsimile transmission and/or email
as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24
hours after the document is filed.
         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
                                                                                                                                   F 9013-3.1
        Case 2:15-bk-17348-BR                   Doc 47 Filed 05/20/19 Entered 05/20/19 10:44:22                                     Desc
                                                 Main Document     Page 3 of 3



Accountant for Trustee
dfife@hahnfife.com
                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

May 20, 2019                         Lorraine Robles                                             /s/ Lorraine Robles
Date                               Type Name                                                    Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
                                                                                                                                   F 9013-3.1
